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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICANS FOR FAIR TREATMENT,

            Plaintiff,                                  No. 1:22-cv-1183-RCL

 v.

 UNITED STATES POSTAL SERVICE, et al.

            Defendants.



                          CONSENT MOTION TO RESET
               BRIEFING SCHEDULE FOR PARTIAL MOTION TO DISMISS

       Plaintiff Americans for Fair Treatment (“AFFT”) respectfully moves this Court to reset the

briefing schedule for Defendants’ Partial Motion to Dismiss. Pursuant to Local Civil Rule 7(m),

Plaintiff has conferred with the Defendants, and they consent to the requested relief.

       In support of this motion, AFFT states:

       1.       There are three motions currently pending before this Court at various stages of

       briefing: (1) Defendants’ Motion for Summary Judgment and Judgment on the Pleadings (ECF

       No. 14); (2) AFFT’s Cross-Motion for Summary Judgment (ECF No. 18); and (3) Defendants’

       Partial Motion to Dismiss (ECF No. 24).

       2.       Defendants unexpectedly filed the last of the three motions on October 28, 2022.

       3.       AFFT’s current deadline to oppose that motion is November 14, 2022.

       4.       AFFT’s deadline to reply in support of its Cross-Motion for Summary Judgment is just

       four days later—November 18, 2022.

       5.       Defendants’ current deadline to file a reply in support of their Partial Motion to Dismiss

       is November 21, 2022.
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      6.      Given the close proximity of AFFT’s two deadlines, undersigned counsel’s litigation

      schedule, and the rapidly approaching Thanksgiving holiday, AFFT respectfully requests the

      following modifications to the briefing schedule for the Partial Motion to Dismiss:

              a.   Set AFFT’s deadline to file its opposition to Defendants’ Partial Motion to Dismiss

                   to December 2, 2022; and

              b.   Set Defendants’ deadline to file their Reply in Support of their Partial Motion to

                   December 16, 2022.

      7.      The purpose of this motion is not to unjustifiably delay the resolution of this case. This

      extension request is carefully tailored to allow AFFT to appropriately and thoroughly oppose

      Defendants’ Partial Motion to Dismiss without compromising the quality of its Reply in

      Support of its Cross-Motion for Summary Judgment.



                                               Respectfully submitted,


November 4, 2022                               /s/ David R. Dorey
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 AMERICANS FOR FAIR TREATMENT,

            Plaintiff,                                 No. 1:22-cv-1183-RCL

 v.

 UNITED STATES POSTAL SERVICE, et al.

            Defendants.



                                      [PROPOSED] ORDER

      AND NOW, this _____ day of November, 2022, upon consideration of AFFT’s Consent

Motion to Reset Briefing Schedule for Partial Motion to Dismiss, and finding good cause exists, IT

IS HEREBY ORDERED that AFFT’s Consent Motion to Reset Briefing Schedule for Partial

Motion to Dismiss is GRANTED. It is FURTHER ORDERED as follows:

      1. AFFT shall file its opposition to Defendants’ Partial Motion to Dismiss by December 2, 2022;

         and

      2. Defendants shall file their reply by December 16, 2022.




                                                               BY THE COURT:



                                                               _________________________
                                                               Hon. Royce C. Lamberth
                                                               U.S. District Court Judge
Cc:      Michael E. Yohannan
         Patricia K. McBride
         Attorneys for Defendants
         601 D Street, NW
         Washington, D.C. 20530


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